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                                UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH, CENTRAL DIVISION



BRENT S. and ANGIE S., individually and as Civil No. 2:17-cv-00402 EJF
representatives of the class of similarly situated
individuals ,                                      COMPLAINT and proposed CLASS ACTION

                     Plaintiffs,
vs.

BLUE CROSS AND BLUE SHIELD OF
MASSACHUSETTS,

                   Defendants.

           Brent S. ("Brent") and Angie S. ("Angie"), individually and as representatives of the class

of similarly situated individuals and through their undersigned counsel, complain and allege

against Defendant Blue Cross Blue Shield of Massachusetts (“BCBSM”) as follows:

                                        NATURE OF THE CASE
      1.   This proposed class action seeks correction of BCBSM's systematic, erroneous exclusion

           of coverage for a variety of mental health treatments based on contradictory, arbitrary, or

           ambiguous language found in BCBSM insured or administered employee welfare benefit

           plans governed by the Employee Retirement Income Security Act of 1974 (“ERISA”).



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                       PARTIES, JURISDICTION & VENUE

1. Brent and Angie are natural persons residing in Douglas County, Colorado. They are

   covered by a self-funded group health benefits plan ("the Plan") provided through Brent's

   employer, Nuance, Inc. ("Nuance"). The Plan is administered by BCBSM.

2. Brent and Angie's son, Jake, received treatment for his mental health conditions at

   Ashcreek Ranch Academy ("ARA"), a licensed residential treatment program in

   Washington County, Utah from March 13, 2014 through January 24, 2015.

3. BCBSM is part of a nationwide group of affiliated insurance companies, the "Blue Cross

   Blue Shield Association," and does business in the State of Utah. Nuance, the Plan

   sponsor, is a multinational technology company with locations throughout the United

   States and around the world.

4. Plaintiffs and the similarly situated class members each received mental health benefits

   through health plans insured and administered by BCBSM.

5. For Plaintiffs and each similarly situated class member, BCBSM denied coverage for

   mental health treatment based on the application of contradictory or ambiguous mental

   health and substance abuse treatment provisions in BCBSM's policies:

           This health plan covers medically necessary services to diagnose and/or treat
           mental conditions.
           ...
           No benefits are provided for: psychiatric services for a condition that is not a
           mental condition; residential or other care that is custodial care; and services and
           or programs that are not medically necessary to treat your mental condition.
           Some examples of services and programs that are not covered by this health
           plan are: services that are performed in educational, vocational, or
           recreational settings; and "outward bound-type," "wilderness," "camp," or
           "ranch" programs. These types of non-covered programs may be in residential
           or nonresidential settings. They may include therapeutic elements and/or clinical
           staff services as well as vocational, educational, problem solving, and/or
           recreational activities. These programs may have educational accreditation. The
           staff may include some licensed mental health providers who may provide some




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           therapy. No benefits are provided for any services furnished along with one of
           these non-covered programs. For example, no benefits are provided for therapy
           and/or psychotherapy furnished along with one of these non-covered programs
           (bolding added).

   This exclusion is referred to as the “Mental Treatment Exclusion” in this Complaint.

6. The health plans administered and insured by BCBSM that are the subject of this lawsuit,

   including the Plan covering the Plaintiffs, are provided through employer sponsored

   welfare benefit plans that are governed by ERISA, 29 U.S.C. § 100,1 et. seq.

7. This Court has jurisdiction over this matter under 29 U.S.C. §1132(e)(1) and 29 U.S.C.§

   1331.

8. Venue is appropriate under 29 U.S.C. §1132(e)(2) and 28 U.S.C. §1391(c) because BCBSM

   does business in the State of Utah and because Jake's treatment was provided in Utah.

9. The remedies the Plaintiffs seek for themselves and the members of the proposed class

   under the terms of ERISA, the requirements of the Mental Health Parity and Addiction

   Equity Act ("the MHPAEA"), and the employee benefit plans BCBSM administers

   and/or insures are for correction of BCBSM's contradictory, arbitrary, or ambiguous Plan

   terms which form the basis for improper denials of coverage for the Plaintiffs and all

   similarly situated individuals, for appropriate equitable relief, and for payment of

   prejudgment interest and an award of attorney fees under 29 U.S.C. §1132(g).

                                   BACKGROUND FACTS

10. BCBSM provides group health insurance coverage and acts as an administrator of health

   benefit plans for thousands of employers across the country. BCBSM is one of the largest

   health insurers in country.

11. Each of the insurance policies or medical plans at issue in this case provides coverage for

   mental health care as outlined in the insurance policy or plan documents.




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12. Claims for coverage of mental health care are insured or administered by BCBSM.

13. When individuals request coverage for mental health treatment under a BCBSM

   insurance policy or health benefits plan, claims are submitted to BCBSM for processing

   and payment or denial.

14. BCBSM systematically denies coverage for mental health treatment provided through

   various programs based on the language of the Mental Treatment Exclusion in paragraph

   5, supra. That language is found in many, if not all, of the BCBSMA insured and

   administered policies and plan documents.

15. As a result of BCBSM's errors in evaluating coverage and payment for patients'

   medically necessary mental health care based on the name of the facility or setting where

   the treatment is provided, BCBSM systematically and improperly denies requests for

   authorization and payment of mental health care claims submitted to it by patients and

   their providers.

16. This case seeks correction of BCBSM's systematic misuse and misapplication of the

   Mental Treatment Exclusion for treatment provided to Jake and all similarly situated

   individuals for whom coverage for mental health treatment has been improperly denied.

                      DEFINITION OF THE PROPOSED CLASS

17. The proposed class is composed of the individuals covered by ERISA governed BCBSM

   insurance policies or BCBSM-administered health benefit plans whose claims for

   authorization and payment of mental health services have been wrongfully denied based

   on BCBSM's systematic and erroneous application of the Mental Treatment Exclusion

   based on the name of the program or the setting in which the treatment is provided.

       FACTS RELATING TO THE INDIVIDUAL CLASS REPRESENTATIVES




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                 Claims and Appeals for Treatment Provided to Jake

18. Claims were submitted to BCBSM for coverage of Jake's treatment at ARA.

19. BCBSM wrote in a letter dated February 25, 2015:


           We have received a request for coverage for a ranch program from Ashcreek
           Ranch Academy on January 23, 2015. You have asked us to provide benefits
           for the services of a ranch program, which is a type of provider that is not
           included in your contract. Your plan does not cover the services of this
           provider whether or not they are medically necessary.

20. Brent appealed the denial of coverage on April 15, 2015. In his letter, Brent stated that

   intermediate inpatient care for medically necessary mental health treatment is a covered

   benefit under the terms of the Plan and is required under the terms of the MHPAEA.

21. Brent asserted that the failure to cover Jake's medically necessary mental health care at

   ARA violated the MHPAEA, ERISA, and the terms of the Plan. He also discussed the

   Final Rules applicable to the MHPAEA, issued November 13, 2013, and their

   applicability to Jake's claims.

22. BCBSM maintained its denial on May 14, 2015. In this denial, BCBSM asserted that the

   claim was not eligible for coverage because "Ashcreek Ranch Academy is a residential

   treatment and boarding school." BCBSM then cited the Mental Treatment Exclusion and

   concluded "[w]e are not questioning the medical necessity of the service or making a

   medical judgment."

23. On July 9, 2015, Brent appealed a second time but sent his appeal directly to Nuance.

   Brent requested a "plan administrator review" of BCBSM's denial of coverage for Jake's

   treatment. Brent again argued that 1) the denial was contradictory to the provisions of the

   Plan to cover inpatient and intermediate treatment of mental health and substance abuse

   conditions; and 2) the denial was a violation of the MHPAEA.




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24. Brent argued that BCBSM's insistence that ARA was a "ranch program" and then its

   statement that ARA was "a residential treatment and boarding school" were both

   incorrect. ARA is licensed in the State of Utah as an inpatient residential treatment

   facility -- not as a "ranch program" or boarding school.

25. Nuance did not respond to Brent's appeal until July 28, 2016, over a year later. Nuance

   stated that BCBSM had been delegated "full discretionary authority to review and decide

   claims for benefits under the Plan" and that BCBSM's decisions were not subject to

   review by Nuance. However, the letter stated that inquiries had been made to ensure that

   the coverage provisions were consistent with the requirements of the MPHAEA and that

   both Nuance and BCBSM believed they were met.


                                    CLASS CLAIMS

26. BCBSM provides insurance and third party administrative services for individuals who

   have received, or requested authorization to receive, mental health services for which

   BCBSM pays, or authorizes payment of, benefits.

27. BCBSM has an obligation to comply with the requirements of ERISA in drafting plan

   documents and summary plan descriptions that provide unambiguous notice to plan

   participants of their rights and obligations under the relevant plan and that are written in a

   manner calculated to be understood by the average plan participant.

28. BCBSM also has an obligation to accurately and consistently assess the mental health

   claims presented to it and to provide coverage for all generally accepted levels of mental

   health care, including treatment provided in settings like Jake's treatment at ARA.

29. BCBSM has drafted the language of its insurance policies and plan terms of ERISA

   documents for plans for which it provides administrative services in a way that violates




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   ERISA’s notice and disclosure requirements because the language of the Mental

   Treatment Exclusion is contradictory, arbitrary and ambiguous.

30. BCBSM has systematically misinterpreted and misapplied the terms of the Mental

   Treatment Exclusion to improperly deny coverage for mental health treatment on the

   basis that the treatment is in the wrong setting or the treatment program has the wrong

   name.

31. BCBSM has systematically ignored information provided to it by participants and

   beneficiaries and their health care providers demonstrating that treatment provided

   through various programs for which BCBSM regularly denies coverage under the Mental

   Treatment Exclusion falls within generally accepted medical practices for the treatment

   of mental health disorders. This action on the part of BCBSM violates ERISA’s claim

   processing requirements and regulations requiring that they provide claimants and full

   and fair review of denied claims.

32. As a result of these actions, BCBSM routinely and improperly denies coverage for

   medically necessary mental health treatment for individuals covered under BCBSM

   insured or administered plans.

33. BCBSM's unjustified denial of medically necessary mental health treatment improperly

   saves itself, or the self-funded plan for which it provides administrative services, money

   at the expense of the medical needs and financial interests of ERISA plan participants and

   their beneficiaries and, as such, is a breach BCBSM’s fiduciary duty to the plan

   participants.

34. Many other claimants, like Brent and Angie, have had mental health treatment claims

   improperly denied by BCBSM based on the Mental Treatment Exclusion.




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35. The number of individuals who are covered by BCBSM insured or administered plans is

   so numerous that joinder of each of the individuals as a plaintiff is impractical in this

   case.

36. There are questions of law and fact that are common to all these individuals whose

   ERISA plans are administered or insured by BCBSM.

37. The claims of the named class representatives, as set forth above, are typical of the

   members of the proposed class.

38. The named representatives of the proposed class will fairly and adequately protect the

   interest of the proposed class and Plaintiffs’ counsel has adequate experience and

   background to represent the proposed class.

39. Prosecution of separate actions of all the individual members of the proposed class would

   create a risk of inconsistent and varying adjudication with respect to the individuals that

   would result in incompatible standards of conduct for BCBSM.

40. The proposed class representatives have exhausted all pre-litigation appeal obligations

   before filing this lawsuit.

41. BCBSM has acted on grounds generally applicable to the proposed class, making relief

   under ERISA for recovery of wrongly denied benefits and equitable relief appropriate

   with respect to the proposed class as a whole.

                                  FIRST CAUSE OF ACTION

                      (Claim for Benefits under 29 U.S.C. §1132(a)(1)(B))

   1.       BCBSM's actions in refusing to provide coverage for medically necessary mental

            health treatment through the misinterpretation and misapplication of the Mental

            Treatment Exclusion violate the terms of the benefit plans or insurance policies




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         for which they provide administrative services or insurance, as well as the terms

         of ERISA and the MHPAEA.

2.       BCBSM's actions have caused damage to the Plaintiffs and to the members of the

         proposed class because BCBSM has systematically denied coverage for mental

         health treatment that should be covered under the terms of the Plan, under the

         terms of ERISA, and under the terms of the MHPAEA, for which BCBSM

         wrongly asserts the Plaintiffs and members of the class are not eligible for

         coverage.

3.       As a result of BCBSM's failure to provide coverage for mental health treatment as

         required by the terms of the plans, the requirements of ERISA, and the

         requirements of the MHPAEA, BCBSM has wrongly denied payment for mental

         health treatment the Plaintiffs and members of the proposed class have received.

4.       The Plaintiffs and the proposed class members are entitled to payment for the

         expenses arising out of mental health treatment for which coverage was

         improperly denied by BCBSM's improper interpretation and application of the

         Mental Treatment Exclusion together with an award of pre and post-judgment

         interest and attorney fees and costs incurred.

                          SECOND CAUSE OF ACTION

      (Claim for Appropriate Equitable Relief under 29 U.S.C. §1132(a)(3))

1. Plaintiffs and the proposed class members seek appropriate equitable relief under 29

      U.S.C. §1132(a)(3) for the violation by BCBSM of ERISA’s notice and disclosure

      requirements in drafting plan documents and summary plan descriptions that do not

      satisfy the requirements of 29 U.S.C. §§ 1021, 1022 and 1024, as well as for the




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   violations by BCBSM of ERISA’s claim procedure requirements, 29 U.S.C. 1133,

   and claim procedure regulations, 29 C.F.R. §2560.503-1, that BCBSM's application

   of the Mental Treatment Exclusion is improper, does not comply with the

   requirements of ERISA, and does not comply with the requirements of the MHPAEA.

2. The failures of BCBSM to comply with ERISA’s notice and disclosure requirements,

   ERISA’s statutory claim procedure requirements, and ERISA’s claim procedure

   regulations, together with BCBSM’s failures to discharge its duties with respect to the

   ERISA plans it administers and insures in the interest of participants and beneficiaries

   and for the exclusive purpose of providing them benefits, are also breaches of

   fiduciary duty in violation of 29 U.S.C. §1104(a)(1)(A).

3. Plaintiffs and the proposed class members seek this Court’s order that they are

   entitled to appropriate equitable relief under 29 U.S.C. §1132(a)(3), including, but not

   limited to, surcharge, restitution, reformation, estoppel, and a declaration that the

   manner in which the Mental Treatment Exclusion has been drafted, interpreted, and

   applied to deny mental health treatment for the Plaintiffs and the members of the

   proposed class violates the statutory and regulatory requirements of ERISA, the

   MHPAEA, and the terms of the Plan.

4. Plaintiffs and the proposed class members also seek this Court’s order enjoining

   BCBSM's application of the Mental Treatment Exclusion in a manner that bars

   coverage for mental health treatment based solely on the name of the facility or the

   setting in which the treatment is provided and further request an order directing

   BCBSM to remedy past and prospective failures to properly evaluate and provided

   coverage for mental health treatment.




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   5. Plaintiffs and the proposed class members also request an award of pre and post-

       judgment interest and an award of attorney fees and costs.

WHEREFORE, Plaintiffs pray for judgment against BCBSM as follows:

1. For an Order certifying the proposed class under Fed. R. Civ. P. 23;

2. For judgment in the amount of the unpaid expenses arising out of the mental health

   therapy provided to the named patient in this case at ARA, together with an award of pre

   and post-judgment interest and an award of attorney fees and costs;

3. For an order under 29 U.S.C. §1132(a)(1)(B) requiring payment of all mental health

   treatment expenses incurred by the proposed class members which have been wrongly

   denied due to BCBSM's systematic application of the Mental Treatment Exclusion to

   deny mental health claims;

4. For appropriate equitable relief under 29 U.S.C. 1132(a)(3) arising out of BCBSM's

   various statutory and regulatory violations and breaches of fiduciary duty including, but

   not limited to, surcharge, restitution, reformation, estoppel, declaratory, and injunctive

   relief.

5. For an award of pre and post-judgment interest on past due benefits to which the

   proposed class members are entitled and for an award of attorney fees and costs based on

   the award of remedies to the proposed class members.

6. For such further relief as the Court deems equitable in the case.

   DATED this 12th day of May, 2017.

                                                   s/ Brian S. King
                                                         Brian S. King
   Plaintiffs' Address:

   Douglas County, Colorado




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